Case 6:16-cv-00970-RBD-TBS Document 29 Filed 09/15/17 Page 1 of 1 PageID 108



                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

   UNITED STATES OF AMERICA and
   BARBARA BERNIER,

          Plaintiffs,

   v.                                                     Case No: 6:16-cv-970-Orl-37TBS

   INFILAW CORPORATION and
   CHARLOTTE SCHOOL OF LAW, LLC,

          Defendants.


                                            ORDER

          This case comes before the Court on Defendants InfilLaw Corporation and

   Charlotte School of Law, LLC’s Unopposed Motion for David Mills to Appear Pro Hac Vice

   for Defendants (Doc. 26). The Court has reviewed the motion and finds that Mr. Mills has

   not satisfied the requirements of M.D. FLA. R. 2.02(a). The requirements for admission pro

   hac vice include that the applicant be “a member in good standing of the bar of any

   District Court of the United States.” Id. Mr. Mills has not demonstrated that he meets this

   requirement. Accordingly, the motion is DENIED without prejudice.

          DONE and ORDERED in Orlando, Florida on September 15, 2017.




   Copies furnished to:

          Counsel of Record
          Unrepresented Parties
